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 6
     Bryan Williams

 7
                           UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9

10   Bryan Williams,                                 Case No. 8:21-cv-638
11
                     Plaintiff,                      COMPLAINT
12

13
                     v.
14

15   American Tire Depot; Hye, LLC and Does
     1-10, inclusive,
16

17
               Defendants.
18

19         Plaintiff, Bryan Williams, hereby complains and alleges as follows:
20

21
                                  NATURE OF THE ACTION
22
                  1. This is an action seeking to remedy unlawful discrimination by
23
     the Defendants against the Plaintiff in the Defendants’ places of public
24
     accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
25
     12101, et seq.] (the “ADA”).
26

27

28                                          -1-
                                          COMPLAINT
29

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 1
                                          PARTIES

 2                2. Plaintiff, Bryan Williams, is a paraplegic resident of the state of
 3   California who requires the use of a wheelchair for mobility purposes and who is
 4   therefore a “person with a disability” within the meaning of the ADA and
 5   Cal.Government Code § 12926.
 6                3. The Defendants (defined below) discriminate against people with
 7
     mobility disabilities in the full and equal enjoyment of the goods, services,
 8
     facilities, privileges, advantages, or accommodations on the basis of their mobility
 9
     disability at the Subject Property (defined below) in violation of the ADA [42
10
     U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
11
                  4. The Defendants’ failure to make reasonable modifications in
12
     policies, practices, or procedures when such modifications are necessary to afford
13

14
     goods, services, facilities, privileges, advantages, or accommodations to

15   individuals with disabilities prevented people with mobility disabilities from
16   enjoying fair and equal access to the Subject Property (defined below) in violation
17   of the ADA [42 U.S.C. § 12182(b)(2)(A)(ii)].
18                5. Defendant, American Tire Depot, owns, operates, or leases
19   real property located at 1123 W Commonwealth Ave, Fullerton, CA 92833, also
20   known as Orange County Assessor’s Parcel No. 031-124-18 and 031-124-32 (the
21
     “Subject Property”).
22
                  6. Defendant, Hye, LLC, owns, operates, or leases
23
     real property located at the Subject Property.
24
                  7. The Subject Property is a commercial facility open to the general
25
     public, is a public accommodation, and is a business establishment insofar as
26
     goods and/or services are made available to the general public thereat. Defendant
27

28                                           -2-
                                           COMPLAINT
29

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 1
     Does 1 through 10, inclusive, are sued herein under fictitious names. Their true

 2   names and capacities are unknown to the Plaintiff. When their true names and
 3   capacities are ascertained, Plaintiff will amend this complaint by inserting their
 4   true names and capacities herein. Plaintiff is informed and believes and thereon
 5   alleges that each of the fictitiously named Defendants are responsible in some
 6   manner for the occurrences herein alleged, and that the harm to Plaintiff herein
 7
     alleged were proximately caused by those Defendants.
 8

 9
                                JURISDICTION AND VENUE
10
                   8. This Court has jurisdiction over the subject matter of this action
11
     pursuant 28 U.S.C. § 1331and28 U.S.C. §§1343(a)(3) and 1343(a)(4) for violations
12
     of the ADA.
13

14
                   9. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)

15   based on the fact that the real property that is the subject of this action is located in
16   this district and the Plaintiff’s causes of action arose in this district.
17

18                                 STATEMENT OF FACTS
19                 10. Parking spaces, accessible aisles, paths of travel, signage,
20   doorways, service counters, customer areas and goods/services are among the
21
     facilities, privileges and advantages offered by the Defendants to patrons of the
22
     Subject Property.
23
                   11. The Subject Property does not comply with the minimum
24
     requirements of the ADA and is therefore not equally accessible to persons with
25
     mobility disabilities.
26
                   12. In January, 2021 and continuously from that time to the
27

28                                             -3-
                                             COMPLAINT
29

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 1
     Present, and currently, the Subject Property has not been in compliance with the

 2   ADA (the “Barriers”):
 3                      A.     The Subject Property lacks the minimum required
 4   number of ADA compliant accessible parking spaces.
 5                      B.     There was no diagonal striped marking and no blue
 6   border around where an access aisle is supposed to exist adjacent to any designated
 7
     accessible parking space(s) serving the Subject Property.
 8
                        C.     The designated “accessible” parking space(s) and/or blue
 9
     striped access aisles provided at the Subject Property are smaller than permitted by
10
     the ADA.
11
                        D.     The designated “accessible” parking spaces at the Subject
12
     Property do not provide accessible parking signage as required by the ADA.
13

14
     Among other things, they fail to provide tow-away signage and “Minimum Fine

15   $250” signage as required by the ADA and state law to beposted near the
16   designated accessible parking space(s).
17                      E.     The designated “accessible” parking spaces at the Subject
18   Property do not provide the universal symbol of accessibility.
19                      F.     There is no twelve-inch high “NO PARKING” lettering
20   on the blue-striped parking accessaisle(s) serving the Subject Property.
21
                        G.     There was no designated “van accessible” parking space
22
     with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
23
     going forward into the parking space and no sign or additional language stating
24
     “Van Accessible” below the symbol of accessibility located in a manner that is not
25
     obstructed.
26
                        H.     The designated accessible parking spaces serving the
27

28                                          -4-
                                          COMPLAINT
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 1
     Subject Property were not located closest to the accessible entrance but, instead,

 2   were located at an unreasonable distance or across a hazardous vehicular route
 3   where safer alternative accommodations are possible.
 4                       I.    The parking spaces designated as “accessible” at the
 5   Subject Property do not have blue-striped parking access aisles adjacent to them
 6   and are not at the same level as the parking spacesthey serve.
 7
                         J.    There were no accessible paths of travel from public
 8
     transportations stops, accessible parking, public streets and sidewalks to the
 9
     building entrances serving the Subject Property.
10
                  13. Plaintiff personally encountered one or more of the Barriers
11
     at the Subject Property in January, 2021. Between January, 2021 and the present,
12
     the Plaintiff had personal knowledge of the existence of Barriers at the Subject
13

14
     Property.

15                14. The barriers Plaintiff encountered included a lack of disabled
16   parking, a lack of blue striped parking access aisles, a lack of accessible signage
17   and a lack of any clearly demarcated accessible path of travel. The barriers were
18   located on the Subject Property in the public parking area adjacent to the customer
19   entrance to the office.
20                15. The barriers Plaintiff encountered effected him with respect to his
21
     mobility disability because he did not want to park his car and be blocked in by
22
     another parked car, had insufficient room to safely assemble or disassemble his
23
     wheelchair to exit the vehicle, and was concerned about wheeling his chair through
24
     the hazardous vehicular area with no markings and the possibility of being injured.
25
                  16.    The property is within a few miles of the Anaheim area, which
26

27

28                                           -5-
                                           COMPLAINT
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 1
     is an area Plaintiff frequents more than once per month for the purpose of visiting

 2   people and/or running errands. The last time Plaintiff was in the area where the
 3   Subject Property is located was on or about March, 2021 for the purpose of
 4   running errands.
 5                17. On information and belief, there are other barriers affecting
 6   Plaintiff’s disability at the Subject Property, and it is Plaintiff’s intention to have
 7
     the Subject Property inspected, to enforce that all barriers related to his disability
 8
     are removed, and to return to the property to confirm the work has been done.
 9
     Until the barriers have been removed, Plaintiff is deterred from attempting to use
10
     the Subject Property.
11
                  18.    The Subject Property is in an area Plaintiff frequents, and he
12
     will return to this property multiple times within the next twelve months for the
13

14
     purpose of observing and confirming whether or not the barriers have been

15   removed.
16                19. The existence of Barriers, the implementation of discriminatory
17   policies, practices and procedures, and other ADA violations at the Subject
18   Property reasonably dissuaded or deterred Plaintiff from accessing the Subject
19   Property on a particular occasion between January, 2021 and the present.
20                20. On information and belief, the remediation of violations
21
     Identified hereinabove, to be identified by the Defendants in discovery, and to be
22
     discovered by Plaintiff’s experts are all readily achievable in that the removal of
23
     them by the Defendants is and has been easily accomplishable without much
24
     difficulty or expense.
25
                  21. Defendants violated the ADA by failing to remove all mobility-
26

27

28                                             -6-
                                             COMPLAINT
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 1
     related architectural barriers at the Subject Property. On information and belief,

 2   Plaintiff alleges that the failure to remove barriers has been knowing, willful and
 3   intentional because the barriers described herein are clearly visible and tend to be
 4   obvious even to a casual observer and because the Defendants operate the Subject
 5   Property and have control over conditions thereat and as such they have, and have
 6   had, the means and ability to make the necessary remediation of access barriers if
 7
     they had ever so intended.
 8
                  22. On information and belief, access barriers at the Subject
 9
     Property are being consciously ignored by the Defendants; the Defendants have
10
     knowingly disregarded the ongoing duty to remove the Barriers in compliance with
11
     the ADA. Plaintiff further alleges on information and belief that there are other
12
     ADA violations and unlawful architectural barriers at the Subject Property that
13

14
     relate to Plaintiff’s mobility disability that will be determined in discovery, the

15   remediation of which is required under the ADA.
16                23. Plaintiff hereby seeks to remediate and remove all barriers
17   related to his mobility disability, whether presently known or unknown and intends
18   to return to the Subject Property to observe and confirm whether access barriers
19   have been removed .
20                24. Even if strictly compliant barrier removal were determined to
21
     be structurally or otherwise impracticable, there are many alternative methods of
22
     providing accommodations that are readily apparent and that could provide a
23
     greater degree of accessibility to the Plaintiff and similarly situated persons but for
24
     the Defendants’ discriminatory policies, practices and procedures and Defendants’
25
     conscious indifference to their legal obligations and to the rights of persons with
26
     mobility disabilities. Defendants’ failure to implement reasonable available
27

28                                            -7-
                                            COMPLAINT
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 1
     alternative methods of providing access violates the ADA [42 U.S.C. §

 2   12182(b)(2)(A)(v)].
 3                25. The violations and references to code sections herein are not
 4   all-inclusive. Plaintiff will amend this complaint to provide a complete description
 5   of the full scope of ADA violations after conducting a comprehensive expert site
 6   inspection and other discovery. For the purposes of this Complaint, Plaintiff asserts
 7
     that the barriers alleged herein violate one or more of the ADA’s implementing
 8
     regulations. The Defendants have maintained and continue to maintain
 9
     discriminatory policies, procedures and practices that disregard their obligations
10
     under the ADA by allocating resources for physical improvements to the Subject
11
     Property that were did not provide legally required accessibility improvements, by
12
     failing to conduct ADA self-inspections or create ADA compliance plans
13

14
     regarding the Subject Property, by causing alterations to be made to the Subject

15   Property in disregard of ADA requirements, and for failing and refusing to make
16   necessary accommodations for persons with mobility disabilities at the Subject
17   Property. Plaintiff seeks a declaration that the Defendants’ disability rights
18   compliance policies, procedures and practices are discriminatory and violate the
19   ADA.
20                             FIRST CAUSE OF ACTION
21                            Discrimination Based on Disability
                                 [42 U.S.C. §§ 12101, et seq.]
22
                              By Plaintiff against all Defendants
23

24                26. Plaintiff re-alleges and incorporates by reference as though
25
     fully set forth herein the allegations contained in all prior paragraphs of this
26
     complaint.
27
                  27. The ADA obligates owners, operators, lessees and lessors of
28                                            -8-
                                            COMPLAINT
29

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 1
     public accommodations to ensure that the privileges, advantages, accommodations,

 2   facilities, goods and services are offered fully and equally to persons with
 3   disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
 4   12182(a)].
 5                28. Discrimination is defined in the ADA, inter alia, as follows:
 6                       A.     A failure to remove architectural barriers where such
 7
     removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
 8
     barriers are identified and described in the Americans with Disabilities Act
 9
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
10
                         B.     A failure to make alterations in such a manner that, to the
11
     maximum extent feasible, the altered portions of the facility are readily accessible
12
     to and usable by individuals with disabilities, including individuals who use
13

14
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

15   the altered area and the bathrooms, telephones, and drinking fountains serving the
16   altered area, are readily accessible to and usable by individuals with disabilities [42
17   U.S.C. § 12183(a)(2)].
18                       C.     Where an entity can demonstrate that the removal of a
19   barrier is not readily achievable, a failure to make such goods, services, facilities,
20   privileges, advantages, or accommodations available through alternative methods
21
     if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
22
                         D.     A failure to make reasonable modifications in
23
     policies, practices, or procedures, when such modifications are necessary to afford
24
     such goods, services, facilities, privileges, advantages, or accommodations to
25
     individuals with disabilities, unless the entity can demonstrate that making such
26
     modifications would fundamentally alter the nature of such goods, services,
27

28                                            -9-
                                            COMPLAINT
29

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  1
      facilities, privileges, advantages, or accommodations [42 U.S.C. §

  2   12182(b)(2)(A)(ii)].
  3               29. The ADA, the ADAAG’s 1991 Standards (the “1991
  4   Standards”) and 2010 Standards (the “2010 Standards”), and the California
  5   Building Code (the “CBC”) contain minimum standards that constitute legal
  6   requirements regarding wheelchair accessibility at places of public
  7
      accommodation:
  8
                         A.    If parking spaces are provided for self-parking by
  9
      employees or visitors, or both, then the subject property must provide at least the
 10
      minimum required number of accessible parking spaces.Accessible parking
 11
      spaces must be marked to define their width and must have an adjacent ADA
 12
      compliant access aisle. Accessible parking spaces must be at least 96 inches wide
 13

 14
      and van parking spaces must be at least 132 inches wide except that van parking

 15   spaces can be 96 inches wide where the access aisle is not less than 96 inches
 16   wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
 17   Subject Property does not comply with the ADA.
 18                      B.    To qualify as a reserved handicap parking space, the
 19   space must be properly marked and designated. Under the ADA, the method,
 20   color of marking and length of the parking space are to be addressed by state or
 21
      local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
 22
      and 503].
 23
                         C.    To properly and effectively reserve a parking space for
 24
      persons with disabilities, each parking space must be at least 216 inches in length
 25
      [CBC § 11B-502.2].
 26

 27

 28                                          -10-
                                           COMPLAINT
 29

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  1
                         D.    Each parking space reserved for persons with disabilities

  2   shall be identified by a reflectorized sign permanently posted immediately
  3   adjacent to and visible from each stall or space, consisting of the International
  4   Symbol of Accessibility in white on a dark blue background. The sign shall not be
  5   smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
  6   shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
  7
      the sign to the parking space finished grade. Signs may also be centered on the
  8
      wall at the interior end of the parking space. An additional sign or additional
  9
      language below the symbol of accessibility shall state "Minimum Fine $250"
 10
      [2010 Standards § 502.6; CBC § 1129B.4].
 11
                         E.    Signs identifying accessible parking spacesmust include
 12
      the International Symbol of Accessibility [2010 Standards §§ 502.6].
 13

 14
                         F.    To properly and effectively reserve a parking space for

 15   persons with disabilities, the surface of the access aisle must have a blue
 16   border; the words “NO PARKING” in letters at least a foot high must be
 17   painted on the access aisle [CBC § 1129B.3].
 18                      G.    One in every eight accessible spaces, but not less than
 19   one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
 20   wide minimum placed on the side opposite the driver’s side when the vehicle is
 21   going forward into the parking space and shall be designated van accessible. Van
 22
      accessible spaces must have an additional sign or additional language stating "Van
 23
      Accessible" below the symbol of accessibility. Signs identifying accessible
 24
      parking spaces must be located so they cannot be obscured by a vehicle parked in
 25
      the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
 26
      and B4].
 27

 28                                          -11-
                                           COMPLAINT
 29

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  1
                         H.     Accessible parking spaces serving the Subject Property

  2   must be located on the shortest accessible route of travel from adjacent parking to
  3   an accessible entrance. In buildings with multiple entrances with adjacent parking,
  4   accessible parking spaces must be dispersed and located closest to the accessible
  5   entrances [1991 Standards § 4.6.2; 2010 Standards § 208.3.1].
  6                      I.     Parking access aisles shall connect to accessible
  7   parking spaces and be part of an accessible route to the building or facility
  8   entrance and must be at the same level as the parking spaces they serve
  9
      [1991 Standards § 4.6.3; 2010 Standards §§ 502.3 and 502.4].
 10
                         J.     At least one accessible route must be provided from
 11
      public transportation stops, accessible parking, and accessible passenger
 12
      loading zones, and public streets or sidewalks to the accessible building
 13
      entrance they serve. The accessible route must, to the maximum extent
 14
      feasible, coincide with the route for the general public, must connect
 15
      accessible buildings, facilities, elements, and spaces that are on the same
 16
      site, and at least one accessible route must connect accessible building or
 17
      facility entrances with all accessible spaces and elements and with all
 18
      accessible dwelling units within the building or facility [1991 Standards
 19
      §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
 20

 21
                   30.   The Defendants have failed to comply with minimum

 22
      ADA standards and have discriminated against persons with mobility

 23   disabilities on the basis of thereof. Each of the barriers and accessibility
 24   violations set forth above is readily achievable to remove, is the result of an
 25   alteration that was completed without meeting minimum ADA standards,
 26   or could be easily remediated by implementation of one or more available
 27

 28                                          -12-
                                           COMPLAINT
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  1
      alternative accommodations. Accordingly, the Defendants have violated the

  2
      ADA.
  3               31.    The Defendants are obligated to maintain in operable
  4   working condition those features of the Subject Property’s facilities and
  5   equipment that are required to be readily accessible to and usable by
  6   Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
  7   36.211(a)]. The Defendants failure to ensure that accessible facilities at the
  8   Subject Property were available and ready to be used by the Plaintiff
  9   violates the ADA.
 10               32.    The Defendants have a duty to remove architectural
 11   barriers where readily achievable, to make alterations that are consistent
 12   with minimum ADA standards and to provide alternative accommodations
 13   where necessary to provide wheelchair access. The Defendants benign
 14
      neglect of these duties, together with their general apathy and indifference
 15
      towards persons with disabilities, violates the ADA.
 16
                  33.    The Defendants have an obligation to maintain policies,
 17
      practices and procedures that do not discriminate against the Plaintiff and
 18
      similarly situated persons with mobility disabilities on the basis of their
 19
      disabilities. The Defendants have maintained and continue to maintain a policy of
 20
      disregarding their obligations under the ADA, of allocating resources for
 21
      improvements insufficient to satisfy legal requirements regarding accessibility
 22

 23
      improvements, of failing to conduct ADA self-inspections or create ADA

 24   compliance plans, of causing alterations to be made to the Subject Property in
 25   disregard of ADA requirements, and of failing and refusing to make necessary
 26   accommodations for persons with mobility disabilities at the Subject Property, in
 27   violation of the ADA.
 28                                          -13-
                                           COMPLAINT
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  1
                   34.   The Defendants wrongful conduct is continuing in that

  2
      Defendants continue to deny full, fair and equal access to their business
  3   establishment and full, fair and equal accommodations, advantages,
  4   facilities, privileges and services to Plaintiff as a disabled person due to
  5   Plaintiff’s disability. The foregoing conduct constitutes unlawful
  6   discrimination against the Plaintiff and other mobility disabled persons
  7   who, like the Plaintiff, will benefit from an order that the Defendants
  8   remove barriers and improve access by complying with minimum ADA
  9   standards.
 10

 11                             PRAYER FOR RELIEF
 12         Plaintiff prays to this Court for injunctive, declaratory and all other
 13   appropriate relief under the ADA, including but not limited to reasonable
 14
      attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
 15
      12205.
 16
            Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
 17         not seek injunctive relief under the Unruh Act or Disabled Persons
 18
            Act at all by way of this action.

 19   Respectfully submitted,
 20
      Dated: 04/06/2021              LAW OFFICES OF ROSS CORNELL, APC
 21

 22
                                     By: /s/ Ross Cornell
 23
                                         Ross Cornell, Esq.,
 24                                      Attorneys for Plaintiff,
                                         Bryan Williams
 25

 26

 27

 28                                        -14-
                                         COMPLAINT
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